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        ORAL ARGUMENT HELD ON JANUARY 19, 2024
    JUDGMENT AND OPINION ISSUED ON NOVEMBER 12, 2024

            IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT

 Marin Audubon Society, et al.,
                          Petitioners,
                  v.                                No. 23-1067

 Federal Aviation Administration, et al.,
                          Respondents.

      JOINT MOTION TO STAY ISSUANCE OF THE MANDATE

      When vacating the order on review in this case, the Court stated that “[i]f

the [respondent] Agencies and Petitioners desire to keep the current Plan” that

governs tourist flights over four national park units near San Francisco “in place

while the Agencies restart their NEPA review, the parties may move for a stay

of our mandate.” Op. 28. The plan at issue limits air tours in these units and

includes conditions that mitigate some of the tours’ environmental effects. Va-

cating the plan would revive a prior interim system under which nearly twice as

many flights were authorized for two park units and even more for the other two

park units, without the plan’s conditions. It would thus harm the very places

(the park units) and people (like petitioners) that the National Parks Air Tour

Management Act and the plan were meant to protect. This Court should there-

fore stay the issuance of its mandate for one year after the disposition of the



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petitions for rehearing so that the Agencies can comply with this Court’s deci-

sion.1

                                BACKGROUND

         The National Parks Air Tour Management Act, enacted in 2000, governs

commercial air tours over national park units (and tribal lands within or adjacent

to those units). The Act requires the Administrator of the Federal Aviation Ad-

ministration, in cooperation with the Director of the National Park Service, to

establish air tour management plans or voluntary agreements for these areas. 49

U.S.C. § 40128(b)(1)(A), (b)(7).

         Any plan must “develop acceptable and effective measures to mitigate or

prevent the significant adverse impacts, if any, of” tours “upon the natural and

cultural resources, visitor experiences, and tribal lands” in these areas. Id.

§ 40128(b)(1)(B). These plans may include measures such as prohibiting or lim-

iting the number of tours; establishing altitude, route, and time restrictions; and

mitigating noise, visual, or other impacts.        See id. § 40128(b)(3).     The




       The parties have sought rehearing. The issuance of the mandate has been
         1

stayed until seven days after the disposition of their petitions.
       Petitioners’ rehearing petition asked the Court to revise Section IV of the
panel opinion to order the remedy of remand without vacatur as the parties re-
quested, and Respondents did not oppose that request. If the full Court grants
this rehearing request from Petitioners, that will avoid the need to resolve this
motion because the Plan will not be vacated and will remain in place on remand.

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Administrator and Director both must sign off on the agencies’ National Envi-

ronmental Policy Act (NEPA) environmental analysis for these plans. See id.

§ 40128(b)(2).

      The Management Act addresses the interim period before plans issue. The

Administrator “shall grant interim operating authority” to existing operators.

Id. § 40128(c)(1). The number of flights under this authority is capped based on

the number of flights the operator reported that it ran over the prior year or the

average number of flights over the previous three years, whichever was higher.

See id. § 40128(c)(2).

      This case concerns a plan that covers four park units near San Francisco

that issued last year. Before the plan, operators had been granted interim oper-

ating authority “to conduct up to 5,090 flights per year over each of the” four

park units, without “restrictions on routes, altitudes, time of day, or . . . for spe-

cial events.” JA148. By contrast, the plan capped tours at 2,548 over the Golden

Gate National Recreation Area and San Francisco Maritime National Historical

Park, 143 over Point Reyes National Seashore, and none over Muir Woods Na-

tional Monument. JA148–149. Where flights were allowed, the plan included

restrictions such as daily limits, time, altitude, and route modifications, and pro-

hibitions on hovering in place to address the tours’ effects on the environment

and the public’s enjoyment of these areas. JA149–150.


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      Petitioners challenged the plan, and the panel held that the Agencies did

not comply with NEPA when preparing the plan. The Agencies set the “base-

line from which to measure environmental impacts of the” plan as the three-year

average of tours operating under interim operating authority. JA151. The

Agencies then concluded that because the plan authorized a similar number of

tours along with mitigation measures, it would “result in no or only minimal

environmental impacts.” Id. The Court held that the Act “makes clear that the

provisional grant of interim operating authority should not function as the base-

line for environmental analysis.” Op. 25. By using that baseline, the Court

found that the Agencies had “failed to fully consider the Plan’s environmental

effects.” Id.

      As to the remedy, the Court held, over a partial dissent by Chief Judge

Srinivasan, that the Agencies’ error meant that it “must vacate the Plan.” Id. at

28. The Court then stated that if the parties “desire to keep the current Plan in

place while the Agencies restart their NEPA review,” they “may move for a stay

of [the] mandate.” Id. It further stated that a stay could “place limits and re-

porting requirements on” the Agencies. Id.

      Consistent with the Court’s direction, the parties now seek to stay issuance

of the mandate.




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          REASONS TO STAY ISSUANCE OF THE MANDATE

      When this Court vacates an agency action and then considers whether to

issue its mandate, it asks whether doing so would have disruptive consequences.

See Fed. R. App. Proc. 41(b) (stating that a “court may shorten or extend the

time [at which the mandate will issue] by order”); see also D.C. Cir. R. 41(a)(2).2

For example, in Cboe Futures Exchange, LLC v. Securities and Exchange Commission,

this Court vacated an exchange order that governed certain futures contracts but

recognized that market participants would need time to wind down transactions

that took place under the order. 77 F.4th 971, 982 (D.C. Cir. 2023). It therefore

“provide[d] a three-month period during which market participants can wind

down their open transactions” before the mandate would issue. Id.; see also Haz-

ardous Waste Treatment Council v. EPA, 886 F.2d 355, 371 (D.C. Cir. 1989) (“[T]o




      2
         The Court should not await, or invite, the participation of “intervenors
or amici curiae” to resolve this motion. Op. 28. The Federal Rules require
interested entities to seek to join a case as early as possible. See, e.g., Campaign
Legal Ctr. v. Fed. Election Comm’n, 68 F.4th 607, 610 (D.C. Cir. 2023) (“The most
important circumstance relating to timeliness is whether a party sought to inter-
vene as soon as it became clear that its interests would no longer be protected by
the parties.” (alteration and quotation omitted)). Here, any entities with an in-
terest in the plan (for or against) have long been on notice that this litigation
could affect the status of the plan. And the parties’ merits briefing specifically
addressed the remedy question, including raising the considerations that this
motion discusses.

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avoid disrupting EPA’s regulatory program [prohibiting disposal of certain sol-

vents and dioxin], we will withhold issuance of our mandate for 90 days.”).

      In this case, a stay of issuance of the mandate is warranted to avoid the

disruptive harm that would result if the plan is not left in place while the Agen-

cies comply with the Court’s decision.

      To start, under these circumstances, allowing no plan to govern tours over

these four national park units would undermine the stated goals of the Manage-

ment Act. As this Court recognized in its opinion, the Act exists “to ‘preserve,

protect, and enhance the environment by minimizing, mitigating, or preventing

the adverse effects of aircraft overflights’ on national parks.” Op. 26 (quoting

Pub. L. No. 106-181, § 802(2), 114 Stat. 61, 186 (2000)). The parties agree that

the plan here includes at least some provisions that take steps to achieve the Act’s

goals, and it is possible that the Agencies’ future action will maintain or increase

the protectiveness of those steps. Under these circumstances, it would under-

mine the Act to lift the protection those steps provide while the Agencies pursue

full compliance with the Act.

      What is more, issuance of the mandate in this case would—by making the

vacatur immediately effective—harm the national park resources and visitor ex-

periences at issue.




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      The plan limits the number of tours over these areas; without it, operators

would be able to run nearly twice as many tours, with all of the attendant “noise,

visual, or other impacts.” 49 U.S.C. § 40128(b)(3)(B). As the petitioners’ have

shown, those impacts are already falling on the park units and the people who

visit them; a higher number of tours would escalate those impacts. See, e.g.,

Chariton Decl. ¶ 4, Doc. No. 2027395 (filed Nov. 16, 2023) (explaining that she

visits parks for “peace, quiet, observation, and meditation” and tours “cause

loud noise and disturb the quiet”); Marin Audubon Society Decl. ¶ 6, Doc. No.

2027395 (filed Nov. 16, 2023) (explaining that tours flush birds out of their hab-

itat and affect “seabird nesting and marine mammals”). Though the Court

found that the Agencies did not fully assess the environmental effects of all cur-

rent tours, the Agencies’ environmental analysis confirms that tours can harm

these areas. See, e.g., JA61 (noting that raptor species present in the areas “are

especially sensitive to low flying aircraft and their associated noise); JA61–62

(explaining that noise from tours can affect wildlife through “altered vocal be-

havior, breeding relocation, changes in vigilance and foraging behavior, and im-

pacts on individual fitness and the structure of ecological communities”); JA66

(“aircraft noise in national parks can impact human perceptions of aesthetic

quality of viewsheds”); see also Ex. 1, National Park Service Decl. ¶¶ 4-8 (Jan. 8,

2025).


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      Without the plan, the risk is not just of more tours but of more damaging

tours, as the plan’s mitigation measures would not be in effect. See Ex. 1, Na-

tional Park Service Decl. ¶¶ 4-5. These measures, for example, require tours to

“maintain a 1,000 ft. lateral avoidance of nesting waterbird colonies, peregrine

falcon nests and marine mammal haul outs.” JA33. They also proscribe routes

that reflect “avoidance distances of currently known nesting waterbird colonies,

peregrine falcon nests and marine mammal haul outs.” Id. And they restrict the

times of day during which tours can take place. JA38; see also JA43 (explaining

that “[b]iologically important behaviors for many species occur during this time,

such as the dawn chorus for songbirds, foraging, and communication” and that

the plan’s time restrictions “create quiet periods of the day during which noise

from commercial air tours would not impede these critical wildlife behaviors”).

Without the plan, the tour operators will not be required to take these protective

measures when flying over these areas.

      The Agencies are committed to addressing the error that the Court’s opin-

ion identified in a timely manner. As the attached declarations explain, the

Agencies may need substantial time to respond to the Court’s decision. See Ex.

1, National Park Service Decl. ¶¶ 9-11; Ex. 2, Federal Aviation Administration

Decl. ¶¶ 2-4 (Jan. 10, 2025). If the Agencies comply with the Court’s decision

by preparing a new or amended air tour management plan, the Agencies will


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need to account for the Court’s holding that the Agencies chose an incorrect

baseline to comply with NEPA. See Exs. 1, 2.3 And if the Agencies conclude it

is necessary to prepare an environmental assessment to comply with NEPA, the

Agencies estimate that it could take them one year to complete that process and

issue a new or amended air tour management plan. See Exs. 1, 2. As a member

of this Court has noted, a stay of the issuance of the mandate accompanied by

time limits can “give the agency an incentive to act in a reasonable time, given

the other constraints on its resources.” Nat. Res. Def. Council v. EPA, 489 F.3d

1250, 1264 (D.C. Cir. 2007) (Randolph, J., concurring). To demonstrate the

Agencies’ commitment to moving quickly, the parties propose that this Court

stay its issuance of the mandate for one year, to coincide with the Agencies’

estimate of when they would be able to complete the required actions.




      3
        Petitioners join this joint motion because they agree that the equities sup-
port keeping the current plan in place while the Agencies comply with the panel
decision. Petitioners do not disagree with the estimates the Agencies have pro-
vided of the time needed to conduct further environmental review under the Na-
tional Environmental Policy Act in light of the panel decision. Beyond those
estimates, the declarations contain some discussion of actions that the Agencies
may take after the panel decision. Petitioners disagree with that additional dis-
cussion, and they reserve all arguments and rights with respect to future chal-
lenges to the Agencies’ future actions in light of the panel decision. Because the
joint motion to stay the issuance of the mandate is based on an estimate of the
time needed to conduct further environmental review, this disagreement is not
relevant to the Court’s resolution of this joint motion.

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                                  CONCLUSION

      For these reasons, this Court should stay the issuance of its mandate for

one year after the disposition of the petitions for rehearing so that the Agencies

can comply with the Management Act and this Court’s decision.


 January 10, 2025                         Respectfully submitted,
 /s/ Kirti Datla                          /s/ Justin D. Heminger
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 Counsel for Petitioners




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                       CERTIFICATE OF SERVICE

      I certify that this motion was electronically filed with the Clerk of the

Court for the United States Court of Appeals for the D.C. Circuit by using the

appellate CM/ECF system on January 10, 2025. I certify that this motion was

served on counsel for all parties via email and the Court’s CM/ECF system.

 January 10, 2025                      /s/ Justin D. Heminger
                                       JUSTIN D. HEMINGER
                                       Counsel for Respondents
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                     CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limitation of Federal Rule of

Appellate Procedure 27(d) because it contains 2,169 words.

      This motion complies with the typeface requirements of Rule 32(a)(5) and

the type-style requirements of Rule 32(a)(6) because this brief has been prepared

in proportionally spaced typeface in Calisto MT 14-point font using Microsoft

Office Word for Microsoft 365.

 January 10, 2025                                 /s/ Justin D. Heminger
                                                  JUSTIN D. HEMINGER
                                                  Counsel for Respondents
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                         Exhibit 1
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              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

MARIN AUDUBON SOCIETY, et al.,           )
            Petitioners                  )
                                         )
      v.                                 )                 Case No. 23-1067
                                         )
FEDERAL AVIATION ADMINISTRATION,         )
U.S. DEPARTMENT OF TRANSPORTATION )
And NATIONAL PARK SERVICE, U.S           )
DEPARTMENT OF THE INTERIOR,              )
               Respondents               )
_________________________________________)


            DECLARATION OF RAYOND M. SAUVAJOT, PH.D.

      I, Raymond M. Sauvajot, PH.D., declare as follows:

      1.     I am the Associate Director for National Resource Stewardship and

Science for the National Park Service (NPS). I have been in this position for ten

years. Prior to that time, I served as Deputy Associate Director for Natural

Resource Stewardship and Science, Natural Resource Program Chief for the NPS

Pacific West Region, and Chief of Planning, Science, and Resource Management

for Santa Monica Mountains National Recreation Area. All told, I have worked for

the NPS for 31 years.

      2.     I have personal knowledge of all facts stated in this declaration, and if

called to testify, I could and would testify competently thereto.
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      3.     As Associate Director, I oversee natural resource management and

science programs for the NPS, including national programs in biology, air and

water resources, geology, natural sounds and night skies, environmental quality

and compliance, ecological inventory and monitoring, climate change response,

and science communication. The Natural Sounds and Night Skies Division is a

Washington support program within the Natural Resource Stewardship and

Science directorate. The NPS National Overflights Program, which has primary

responsibility for implementing the National Parks Air Tour Management Act

(NPATMA), is within the Natural Sounds and Night Skies Division.

      4.     The routes included in the air tour management plan (ATMP) for the

parks included modifications from the air tour routes flown by the operators under

existing conditions. These modifications were identified by a NPS interdisciplinary

team of subject matter experts. This team modified the operators’ existing routes,

as provided by the operators, so that the tours would not fly over sensitive areas,

including historic districts, or interfere with the Parks’ interpretive programs, and

other measures designed to minimize or prevent impacts to park resources. If the

ATMP were vacated and interim operating authority reinstated, operators could

resume flying their previous routes without the mitigations to protect the Parks’

resources and visitor experience included in the ATMP because interim operating

authority only specifies the annual number of air tours allowed and does not


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include any operating conditions such as designated routes, minimum altitudes, or

time of day restrictions. The operators could also choose to fly different routes than

those they previously reported to the agencies, resulting in impacts to the Parks’

resources that were not analyzed by the NPS or addressed in the ATMP.

      5.     The ATMP includes minimum altitudes and lateral avoidances for

helicopter and seaplane tours. They were developed based on technical advice

provided by the U.S. Fish and Wildlife Service and the National Marine Fisheries

Service and are consistent with recommended protections for marine mammal haul

outs, peregrine falcons, nesting shore birds, and other noise sensitive species. If

the ATMP were vacated, and interim operating authority reinstated, these sensitive

resources would lose the protections from noise and visual impacts provided by the

ATMP.

      6.     The ATMP authorizes 2,548 air tours over Golden Gate and San

Francisco Maritime each year; up to 1,280 of which may be flown using

helicopters and 1,268 of which may be flown using seaplanes. If the ATMP were

vacated and interim operating authority reinstated; up to 2,900 helicopter tours

could occur and up to 2,190 seaplane tours could occur over these two parks.

Under the ATMP, noise modeling demonstrates that noise exceeding 52 decibels,

the level at which a visitor may reasonably expect interference with Park

interpretive programs, for up to 10 minutes on a peak day. If the ATMP were


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vacated, increased tours could occur, up to the level authorized by interim

operating authority, which would increase noise and visual impacts beyond those

disclosed in the NPS’s Categorical Exclusion Documentation Form.

      7.     The ATMP authorizes only 143 commercial air tours over Point

Reyes National Seashore, with no helicopter tours allowed. The ATMP also

includes daily limits on the number of seaplane tours that may be conducted over

Point Reyes. On most days, the seaplane operator is limited to a maximum of a

single air tour per day, though on five days a year the seaplane operator could

conduct up to two flights per day over Point Reyes. If the ATMP were vacated, and

interim operating authority reinstated, the helicopter operator could fly up to 2,900

tours per year and the seaplane operator could fly up to 2,190 tours each year over

Point Reyes with no daily caps. While the seaplane route authorized in the ATMP

does cross segments of the Phillip Burton Wilderness it spends only limited time

over the wilderness, leaving the vast majority of the park’s wilderness unimpacted

by air tours year-round. If the ATMP were vacated, increased air tours could occur

increasing noise and visual impacts on wilderness character and on the park’s other

sensitive resources, including marine mammals and shorebirds.

      8.     The ATMP does not allow any tours over Muir Woods. Though Muir

Woods was exempt from the requirement to prepare an ATMP or voluntary

agreement, the NPS withdrew that exemption on March 4, 2021, in order to protect


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the park’s resources and values and visitor experience and to preserve the park’s

primeval character and ecological integrity of its old-growth redwood forest. The

park’s natural soundscape is a highly valued part of the visitor experience. If the

ATMP were vacated, and interim operating authority reinstated, air tours over the

park could occur up to the level authorized by interim operating authority (5,090

air tours per year). Any air tours over the Muir Woods would increase noise and

visual impacts beyond those disclosed in the NPS’s Categorical Exclusion

Documentation Form.

      9.     On remand, the Agencies will need to determine how to comply with

the National Parks Air Tour Management Act, which allows the Agencies either to

prepare an air tour management plan or to enter into a voluntary agreement with all

operators over a park.

      10.    If the agencies choose to prepare a new or amended air tour

management plan, the Agencies will need to determine how to comply with the

Court’s decision, which held that the Agencies chose an incorrect baseline to

comply with the National Environmental Policy Act (NEPA). If the Agencies

decide to prepare a new or amended air tour management plan and conclude that it

is necessary to prepare an environmental assessment under NEPA, it could take 12

months to complete that process and to issue a new or amended air tour

management plan.


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      11.    Alternatively, the Agencies may choose to comply with the Court’s

decision and NPATMA by entering into a voluntary agreement with the air tour

operators. A voluntary agreement must address management issues necessary to

protect park resources and visitor experiences and may include the same sorts of

measures that can be included in a plan. Before entering into a voluntary

agreement, the Agencies must provide an opportunity for public review of the draft

agreement and must consult with any Indian tribe whose tribal lands are, or may

be, flown over; after that public review and consultation, the voluntary agreement

may be implemented without further administrative or environmental process. A

voluntary agreement becomes effective when both the NPS and the FAA enter into

it with the air tour operators. If the Agencies choose to comply with the Court’s

decision by entering into a voluntary agreement, this process will likely take less

time than completing a plan, though the Agencies are not in a position at this time

to estimate the length of time such process would take.

      I declare under penalty of perjury that the foregoing is true and correct.

Executed on January 8, 2025.
                                                        Digitally signed by
                                      RAYMOND           RAYMOND SAUVAJOT
                                                        Date: 2025.01.08 17:32:42
                                      SAUVAJOT
                                      _____________________________
                                                        -05'00'
                                       Raymond M. Sauvajot, Ph.D.,
                                       Associate Director for National Resource
                                       Stewardship and Science,
                                       National Park Service


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              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

MARIN AUDUBON SOCIETY, et al.,           )
            Petitioners                  )
                                         )
      v.                                 )                Case No. 23-1067
                                         )
FEDERAL AVIATION ADMINISTRATION,         )
U.S. DEPARTMENT OF TRANSPORTATION )
And NATIONAL PARK SERVICE, U.S           )
DEPARTMENT OF THE INTERIOR,              )
               Respondents               )
_________________________________________)

                     DECLARATION OF JULIE MARKS

      1.     I, Julie Marks, am the Executive Director of the Office of

Environment and Energy at the Federal Aviation Administration. In this capacity, I

am responsible for providing support to the Air Tour Management Plan effort.

      2.     The National Parks Air Tour Management Act allows the Agencies

either to prepare an air tour management plan or to enter into a voluntary

agreement with all operators over a park.

      3.     On remand, if the Agencies choose to prepare a new or amended air

tour management plan, the Agencies will need to determine how to comply with

the Court’s holding that they chose an incorrect baseline for compliance with the

National Environmental Policy Act (NEPA). If the Agencies decide to prepare a

new or amended air tour management plan and conclude that it is necessary to
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prepare an Environmental Assessment under NEPA, it could take 12 months to

complete that process.

      4.     Alternatively, the Agencies may choose to comply with the Court’s

decision and NPATMA by negotiating and entering into a voluntary agreement

with the air tour operators. Before entering into a voluntary agreement, the

Agencies must provide an opportunity for public review of the draft agreement and

must consult with any Indian tribe whose tribal lands are, or may be, flown over.

After that public review and consultation, the voluntary agreement may be

implemented without further administrative or environmental process. If the

Agencies choose to comply with the Court’s decision by entering into a voluntary

agreement, the process will likely take less time than completing a plan although

the Agencies are not in a position at this time to estimate the length of time such a

process would take.

      I declare under penalty of perjury that the foregoing is true and correct.

Executed on January 10, 2025
                                                      Digitally signed by JULIE ANN
                                       JULIE ANN      MARKS
                                                      Date: 2025.01.10 12:25:33
                                       MARKS
                                       _____________________________
                                                      -05'00'

                                       Julie Marks
                                       Executive Director
                                       Office of Environment and Energy
                                       Federal Aviation Administration




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